






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,106




EX PARTE JEFFREY POMPA, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. F-2006-0224-A IN THE 16TH  DISTRICT COURT
FROM DENTON COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.
&nbsp;
O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant pleaded guilty to driving while
intoxicated, and was sentenced to 25 years’ imprisonment.  He did not appeal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends, inter alia, that his trial counsel rendered ineffective assistance because
when applicant was not able to pay the fee he had recently learned would increase if he demanded
a trial, counsel told applicant that he would be “distracted” while trying the case due to applicant’s
non-payment of the fee. One of trial counsel’s former assistants testified that counsel “used the
language about being distracted at trial in the absence of an additional fee on many occasions, not
only with [applicant], but with other clients.”   
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has determined that trial counsel was ineffective in that counsel’s increased
demands for money greatly affected applicant’s decision to plead guilty and that such ineffective
representation prejudiced applicant.  We find, therefore, that applicant is entitled to a new trial. The
judgment of conviction in Case No. F-2006-0224-A from the 16th Judicial District Court of Denton
County is set aside, and applicant is remanded to the custody of the Denton County Sheriff’s
Department to answer the indictment. 
&nbsp;
Delivered: March 11, 2009
Do Not Publish


